            Case 14-10867-BLS          Doc 1914-5      Filed 10/24/18       Page 1 of 1



                                CERTIFICATE OF SERVICE

               I, Chadd P. Fitzgerald, certify that I am not less than 18 years of age, and that on

October 24, 2018, a copy of the foregoing document was electronically filed by CM/ECF, and I

caused copies to be served upon the following parties in the manner indicated.

VIA HAND DELIVERY
Dennis A. Meloro, Esquire
Greenberg Traurig, LLP
1007 North Orange Street, Suite 1200
Wilmington, DE 19801

VIA U.S. MAIL
James S. Carr, Esquire
Dana P. Kane, Esquire
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178

               Under penalty of perjury, I declare that the foregoing is true and correct.

Dated: October 24, 2018                           /s/ Chadd P. Fitzgerald
                                                  Chadd P. Fitzgerald




WBD (US) 44758282v1
